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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 COMMONWEALTH OF
 PENNSYLVANIA by and through
 Lawrence S. Krasner, District Attorney of
 the County of Philadelphia,
                                                           CIVIL ACTION
                       Plaintiff,
                                                           NO. 24-5823
        v.

 ELON MUSK, et. al.,

                       Defendants.


Pappert, J.                                                       November 1, 2024

                                    MEMORANDUM

       On October 28, Philadelphia District Attorney Lawrence Krasner, acting on

behalf of the Commonwealth of Pennsylvania, filed this lawsuit in the Philadelphia

County Court of Common Pleas. Krasner alleges that America PAC and its founder

Elon Musk, by virtue of Mr. Musk’s awarding selected registered voters $1 million

dollars in exchange for signing America PAC’s “Petition in Favor of Free Speech and

the Right to Bear Arms,” is violating Pennsylvania’s Lottery Law and Unfair Trade

Practices and Consumer Protection Law. Krasner seeks to enjoin the Defendants from

continuing with their program.

       Mr. Musk’s efforts come within the context of next week’s presidential election

and his support for former President Trump, something the lawsuit focuses on. For

example, in addition to claiming the Defendants violated state laws, Krasner

emphasizes the need, among other things, to prevent interference with the presidential

election and ensure that it is “free, fair and final.” Given these goals and the


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anticipated argument from the Defendants that the lawsuit targets their core political

speech, Krasner anticipated an attempt to remove the case to federal court. To blunt

such an effort, Krasner claims in his papers the case presents no federal question, that

a federal court would not have jurisdiction over the case and that “any effort to remove

this matter to federal court would be frivolous and subject to remand.”

       Late in the evening of October 30, the defendants did what Krasner suspected

they might and filed their notice of removal to this Court. (ECF No. 1.) Krasner waited

until after 4 p.m. the following day to file his “emergency” motion to remand the case

back to the common pleas court. (ECF No. 3.) Immediately upon receiving Krasner’s

motion, the Court ordered the Defendants to respond by this morning. (ECF No. 4.)

       Having now considered the parties’ submissions, the Court grants the motion

and remands the case back to the Court of Common Pleas.

                                             I

       Federal courts are of limited jurisdiction, “possessing only that power authorized

by Constitution and statute.” Gunn v. Minton, 568 U.S. 251, 256 (2013). A defendant

attempting to remove a case from state court to federal court bears the burden of

establishing the federal court’s subject matter jurisdiction. Samuel Bassett v. KIA

Motors America, Inc., 357 F.3d 392, 396 (3d Cir. 2004); see also 28 U.S.C. § 1441(a).

The case must be remanded to state court “[i]f at any time before final judgment it

appears that the district court lacks subject matter jurisdiction.” 28 U.S.C. § 1447(c).

Removal statutes are to be “strictly construed, with all doubts to be resolved in favor of

remand.” Brown v. JEVIC, 575 F.3d 322, 326 (3d Cir. 2009). Defendants based

removal here on both federal question and diversity jurisdiction, but neither applies.



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                                             II

       A district court has “federal question” jurisdiction when a case “aris[es] under”

federal law. 28 U.S.C. § 1331. Most typically, “a case arises under federal law when

federal law creates the cause of action asserted.” Gunn, 568 U.S. at 257. Pennsylvania

law creates the two causes of action asserted here. See 18 Pa. Cons. Stat. § 5512; 73 Pa.

Cons. Stat. §§ 201–4. Defendants argue that this case falls into the “special and small

category” of state-law cases that nevertheless “arise under” federal law when they

“necessarily raise a stated federal issue, actually disputed and substantial, which a

federal forum may entertain without disturbing any congressionally approved balance

of federal and state judicial responsibilities.” Gunn, 568 U.S. at 258 (quoting Grable &

Sons Metal Prod., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005)).

       A state-law claim necessarily raises a federal question when the plaintiff must

“win on an issue of federal law” in order to “prove some element” of the claim. City of

Hoboken v. Chevron Corp., 45 F.4th 699 (3d Cir. 2022), cert. denied sub nom. Chevron

Corp. v. City of Hoboken, New Jersey, 143 S. Ct. 2483 (2023). In Grable, for example,

the plaintiff had to prove that the IRS failed “to give it adequate notice, as defined by

federal law” in order to prove “an essential element of its quiet title claim.” 545 U.S. at

314–15. In Gunn, the plaintiff had to prove that with competent lawyering, “he would

have prevailed in [a prior] federal patent infringement case” in order to satisfy an

element of his state-law legal malpractice claim. 568 U.S. at 259. And in Smith v.

Kansas City Title & Trust Co., 255 U.S. 180 (1921), the plaintiff-shareholder had to

show that the federal government’s issuance of certain bonds was unconstitutional in




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order to prove that state law prohibited the defendant-bank from purchasing those

bonds. Id. at 312.

        Defendants have not identified any question of federal law that must be resolved

in Plaintiff’s favor in order to prove either state-law claim. Defendants argue the

Complaint’s references to “the forthcoming Federal Presidential Election” show the

lawsuit necessarily raises questions of federal law. (Def. Resp. at 8, ECF No. 7 (quoting

Compl. ¶ 8, Ex. A, ECF No. 1.)) But federal question jurisdiction does not turn on a

plaintiff’s motivations in filing suit; it turns on whether the legal issues arising from

the claims originate in federal or state law. 1

                                                  III

        Defendants’ assertion of diversity jurisdiction fares no better. Federal courts

have subject matter jurisdiction over state-law claims when there is complete diversity

of citizenship between the litigants and the amount in controversy exceeds $75,000. 28

U.S.C. § 1332. Generally, “[t]here is no question that a State is not a citizen for

purposes of [] diversity jurisdiction.” Moor v. Alameda County, 411 U.S. 693, 717

(1973). A political subdivision of the state, however, is a citizen of the state for

diversity purposes “unless it is simply the arm or alter ego of the State.” Id. (internal

quotation omitted). In deciding whether a political subdivision is an alter ego of the

state, federal courts must look to state law. Id. at 719-20.




1       Defendants also say this case belongs in federal court because they intend to raise defenses
under federal election law and the First Amendment. (Def. Resp. at 8-9.) But a suit “arises under
[federal law] only when the plaintiff's statement of his own cause of action shows that it is based
upon those laws or that Constitution.” Louisville & Nashville R. Co. v. Mottley, 211 U.S. 149, 152
(1908). Thus, “a defense that raises a federal question is inadequate to confer federal jurisdiction.”
Merrell Dow Pharms. Inc. v. Thompson, 478 U.S. 804, 808 (1986) (citing Mottley, 211 U.S. 149).

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       In Pennsylvania, a district attorney represents the Commonwealth as the “chief

law enforcement officer for the county in which he is elected.” 71 Pa Cons. Stat. § 732–

206. The Defendants admit that district attorneys are alter egos of the Commonwealth

in criminal cases but contend that the opposite is true when bringing civil suits.

(Notice of Removal at 7-8.)

       Not so. District attorneys, where so empowered, may file suit in the name of the

Commonwealth. Commonwealth v. AG of Commonwealth, 309 A.3d 265, 275-78 (Pa.

Commw. Ct. 2024). 2 Indeed, Pennsylvania’s Unfair Trade Practices and Consumer

Protection Law states that district attorneys “may bring an action in the name of the

Commonwealth.” 73 Pa. Cons. Stat. § 201–4; see also Commonwealth v. AG of

Commonwealth, 309 A.3d at 273 (“Although district attorneys may bring suit under the

UTPCPL, the true party in interest is the Commonwealth, and not the local

jurisdiction.”). District attorneys are the alter egos of the Commonwealth and are not

citizens for diversity jurisdiction purposes.


       An appropriate Order follows.


                                                              BY THE COURT:


                                                              /s/ Gerald J. Pappert
                                                              Gerald J. Pappert, J.


2       District attorneys have autonomy to bring civil suits, but “their enforcement powers extend
only to such matters ‘which arise in the county for which the district attorney is elected.’” Id.
(quoting 16 Pa. Cons. Stat. § 1402(a)). Defendants cite this as evidence that district attorneys are
county, and not state, officials. (Def. Resp. at 12.) But that misreads the law. That district
attorneys’ authority only extends to the borders of their respective counties does not mean they do
not act as arms of the state. Indeed, the entire purpose of the alter ego inquiry is to determine
whether a political subdivision—necessarily something less than a statewide entity—nonetheless
constitutes a state actor.


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